
GUIDRY, Judge.
For the reasons assigned in the companion matter entitled Walter M. Godwin v. Government Employees Insurance Company et al., 394 So.2d 751, our docket number 8052, the judgment rendered by the trial court is reversed and set aside and it is now ordered, adjudged and decreed that there be judgment in favor of the defendant, State of Louisiana, through the Department of Transportation and Development, and against the plaintiff, Bettye F. Godwin, dismissing the latter’s suit with prejudice.
It is further ordered, adjudged and decreed that Bettye F. Godwin be cast with all costs of these proceedings both at the trial level and on appeal.
REVERSED AND RENDERED.
